 1   SHAWN N. ANDERSON
     United States Attorney
2    ROSETTA L. SAN NICOLAS
     Assistant U.S. Attorney                                           OISTRict COURT OF GUAM
3
     Sirena Plaza, Suite 500
     108 Heman Cortez Avenue
                                                                            •ShP 0 3 2020
4
     Hagatna, Guam 96910
5    PHONE: (671)472-7332                                              JEANNE G. QUIWATA
     FAX: (671)472-7215                                                  clerk OF gS
6
     Attorneys for the United States of America
7

                               IN THE UNITED STATES DISTRICT COURT
8

                                     FOR THE TERRITORY OF GUAM
9


10
      UNITED STATES OF AMERICA,                    CRIMINAL CASE NO. 20-000z
11                            Plaintiff,                  INDICTMENT


12                                                 ATTEMPTED POSSESSION WITH
                                                   INTENT TO DISTRIBUTE
13                                                  METHAMPHETAMINE
                                                   HYDROCHLORIDE
14
                                                   [21 U.S.C. §§ 846 & 841(a)(1)&
                                                   (b)(l)(A)(viii)]
15
                                                   (Count 1)
16                            vs.                  POSSESSION WITH INTENT TO
                                                   DISTRIBUTE METHAMPHETAMINE
17    RICKY JAMES JR. SALAS SANTOS,                HYDROCHLORIDE
                                                   [21 U.S.C. §§ 841(a)(1)&(b)(l)(A)(viii)]
18                            Defendant.           (Count 2)
                                                    NOTICE OF FORFEITURE
19                                                 [21 U.S.C. § 853]
20


21   THE GRAND JURY CHARGES:

22             COUNT 1 - ATTEMPTED POSSESSION WITH INTENT TO DISTRIBUTE
                              METHAMPHETAMINE HYDROCHLORIDE
23

            On or about August 26, 2020, in the District of Guam,the defendant RICKY JAMES JR.
24


25   SALAS SANTOS,knowingly and intentionally attempted to possess with intent to distribute

26   fifty (50)or more grams of methamphetamine hydrochloride, a Schedule II controlled substance,

     INDICTMENT - 1



                   Case 1:20-cr-00021 Document 6 Filed 09/09/20 Page 1 of 3
1          In violation of Title 21, United States Code, Section 846, 841(a)(1) and (b)(l)(A)(viii).
2                       COUNT 2 - POSSESSION WITH INTENT TO DISTRIBUTE
                          METHAMPHETAMINE HYDROCHLORIDE
3


4           On or about August 26,2020,in the District of Guam,the defendant RICKY JAMES JR.
5    SALAS SANTOS,knowingly and intentionally possessed with intent to distribute fifty (50)or
6
     more grams of methamphetamine hydrochloride, a Schedule II controlled substance.
7
            In violation of Title 21, United States Code, Section 841(a)(1) and (b)(l)(A)(viii).
8
                                          NOTICE OF FORFEITURE
9
            1. The allegations contained in Counts 1 and 2 ofthis Indictment are hereby realleged
10
     and incorporated by reference for the purpose of alleging forfeitures pursuant to Title 21, United
11
     States Code, Section 853.
12
            2. Upon conviction of any Title 21 controlled substance offense alleged in Counts 1
13
     and 2 ofthis Indictment, the defendant, RICKY JAMES JR. SALAS SANTOS,shall forfeit to
14

     the United States of America any property constituting, or derived from,any proceeds obtained,
15


16
     directly or indirectly, as the result ofsuch offenses and any property used, and intended to be

17   used, in any manner or part, to commit, or to facilitate the commission of, the offenses. The

18   property to be forfeited includes, but is not limited to,the following:

19          3.   MONEY JUDGMENT

20           A sum of money representing the amount of proceeds obtained as a result ofthe offense.
            4. SUBSTITUTE ASSETS
21
            If any ofthe property described above, as a result of any act or omission ofthe defendant:
22
                 a. Cannot be located upon the exercise of due diligence;
23               b. Has been transferred or sold to or deposited with, a third party;
24               c. Has been placed beyond the jurisdiction ofthe Court;
                 c. Has been substantially diminished in value; or
25
                 d. Has been comingled with other property which cannot be subdivided without
26


     INDICTMENT - 2



                   Case 1:20-cr-00021 Document 6 Filed 09/09/20 Page 2 of 3
1                  difficulty;

2
            The United States of America, shall be entitled to forfeiture of substitute property,
     pursuant to Title 21 U.S.C. § 853(p), as incorporated by Title 28, United States Code, Section
3
     2461(c).
4
            DATED this 9th day of September,2020.
5
                                                  A TRUE BILL.
6


7


8                                                         r:2     h   w   jf.   Hjb^




9
     SHAWN N. ANDERSON
10   United States Attorney
     Districts of Guam and NMI
11


12
     By:
            ROSETTA L. SAN NICOLAS
13
            Assistant U.S. Attomey
14


15


16


17


18


19


20


21


22


23


24


25


26


     INDICTMENT - 3



                   Case 1:20-cr-00021 Document 6 Filed 09/09/20 Page 3 of 3
